Case 1:21-cv-03417-NYW-MEH Document 35 Filed 12/21/22 USDC Colorado Page 1 of 18




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:21-cv-3417-NYW-MEH

   HOLLY KLUTH,

          Plaintiff,

   v.

   TONY SPURLOCK,
   Individually and in his official capacity as Douglas County Sheriff,

         Defendant.
   ______________________________________________________________________________

                 DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION
                        FOR PARTIAL SUMMARY JUDGMENT
   ______________________________________________________________________________

          Defendant Tony Spurlock, by and through counsel, responds to Plaintiff’s Motion for

   Partial Summary Judgment [Doc. No. 33] (“Motion”) as follows:

                                           INTRODUCTION

          The Douglas County Sheriff’s Office (“DCSO”) Policy and Procedure Manual clearly and

   conspicuously disclaims the creation of any contractual rights. Thus, the only rights considered

   binding on the DCSO are those set forth in C.R.S. § 30-10-506. Sheriff Spurlock fully complied

   with the dictates of the statute during his May 25, 2021 meeting with Plaintiff when he twice

   notified Plaintiff of the reason for her termination and gave her the opportunity to respond. Because

   the DCSO Policy and Procedure I-102 (Disciplinary/Corrective Action) grants deputies additional

   notice and procedures far beyond what is required by C.R.S. § 30-10-506, it does not effectuate

   the specific rights granted by the statute and is not an implied contract under Colorado law.
Case 1:21-cv-03417-NYW-MEH Document 35 Filed 12/21/22 USDC Colorado Page 2 of 18




             Even if Policy and Procedure I-102 were an implied contract, Sheriff Spurlock, in his

   official capacity as Plaintiff’s former employer, may rescind the contract given his assertion of an

   after-acquired evidence defense in his Answer. Evidence discovered by the DCSO after Plaintiff’s

   termination demonstrates that Plaintiff made material and intentional misstatements and omissions

   in her initial employment application materials with the DCSO.

             With respect to Sheriff Spurlock’s mitigation defense, the undisputed evidence

   demonstrates that Plaintiff made virtually no effort to secure employment after her termination

   from the DCSO. As such, a reasonable jury could conclude that Sheriff Spurlock has established

   his mitigation defense. For these reasons and those described below, Plaintiff’s Motion should be

   denied.

         RESPONSE TO STATEMENT OF UNDISPUTED MATERIAL FACTS (“RSOMF”)

             1.     Admit.

             2.     Admit.

             3.     Admit.

             4.     Admit.

             5.     Admit.

             6.     Admit.

             7.     Admit.

             8.     Admit that Sheriff Spurlock testified that for about the first five years as Undersheriff

   (from approximately 2014 to 2019), Plaintiff did an incredible job.1 (Ex. 1, 104:16-18).




   1
            Page 103 of Sheriff Spurlock’s deposition transcript is missing from Plaintiff’s Exhibit 1.
   It is included in Defendant’s Exhibit X.
                                                       2
Case 1:21-cv-03417-NYW-MEH Document 35 Filed 12/21/22 USDC Colorado Page 3 of 18




          9.      Admit.

                                 The DCSO’s Disciplinary Policy

          10.     Admit.

          11.     Admit that Sheriff Spurlock testified the Disciplinary Policy, P&P-I-102

   (“Disciplinary Policy”) sets forth procedures to discipline employees. (Ex. 1, 219:24 – 220:2).

          12.     Admit.

          13.     It is admitted that the Disciplinary Policy is the only written policy in the DCSO’s

   Policy and Procedure Manual that sets forth procedures to discipline employees.

          14.     Denied. The Disciplinary Policy does not effectuate the specific rights granted by

   C.R.S. § 30-10-506 because it grants deputies additional notice and procedures beyond what is

   required by the statute. (Ex. 2). See Statement of Additional Disputed Facts, ¶ 3.

          15.     Admit.

          16.     Admit.

          17.     Admit that the Disciplinary Policy provides that “Discipline is finalized only after

   the employee has had an opportunity to reply to the charges, and present mitigating information.”

   (Ex. 2, VII.B.2).

          18.     Admit.

          19.     Admit.

          20.     Admit that the Disciplinary Policy provides that “the disciplinary action

   letter…shall also contain a statement citing the reason(s) for demotion or termination.” (Ex. 2,

   VII.B.6.).




                                                    3
Case 1:21-cv-03417-NYW-MEH Document 35 Filed 12/21/22 USDC Colorado Page 4 of 18




          21.     Admit that the Disciplinary Policy provides that if “an executive officer demotes or

   terminates an employee, the date the demotion or termination is to take effect shall be stated in the

   disciplinary action letter provided to the affected employee by the executive officer. (The date

   shall be no earlier than one (1) business day past the five business days that the member has to file

   an appeal.)”. (Ex. 2, VII.B.6.).

          22.     Admit that the Disciplinary Policy provides that employees “may appeal a 2-year

   letter of reprimand as well as restitution, probation, pay status freeze and/or reduction, suspension,

   demotion or termination...” and that the appeal “must be in writing and must be received by the

   Office of Professional Standards within five (5) business days of the date of the discipline.” (Ex.

   2, VIII.D).

          23.     Admit that the Disciplinary Policy provides that “Sanctions will not be imposed

   until the employee waives appeal or after the appeal deadline, whichever comes first.” (Ex. 2,

   VII.B.6.).

          24.     Denied. The Disciplinary Policy imposes a number of obligations on DCSO

   employees. (Ex 2, VIII.B. - E.1.).

                                          Ms. Kluth’s Termination

          25.     Admit that Plaintiff informed Sheriff Spurlock “around February 6” [2021] that she

   would be running for Douglas County Sheriff (Ex. 6, 102:7-12). However, Sheriff Spurlock knew

   as early as the summer of 2020 that Plaintiff was considering running for Douglas County Sheriff.

   (Ex. W, Kluth Dep. at 104:21 – 105:9; Ex. X, Spurlock Dep. at 151:14 – 152:10).

          26.     Admit.




                                                     4
Case 1:21-cv-03417-NYW-MEH Document 35 Filed 12/21/22 USDC Colorado Page 5 of 18




          27.     Admit that Plaintiff was transferred to the Detentions Division on or about February

   23, 2021. (Ex. 7, 77:10-12).

          28.     Admit that Kevin Duffy testified Plaintiff’s transfer to Detentions showed him that

   “the sheriff and the undersheriff had confidence in Nicholson-Kluth to take on that very, very

   demanding role.” (Ex. 7, 78:11 – 14). Sheriff Spurlock testified that Plaintiff was transferred to

   Detentions for a number of reasons including the termination of another Captain (James Jensen)

   and the departure of the Arapahoe County Sheriff’s Office from the Highlands Ranch Law

   Enforcement Training Academy, which left a leadership void prompting Sheriff Spurlock to move

   Captain Tim Moore to the Academy and the “domino effect” created as a result. (Ex. X, Spurlock

   Dep. at 265:25 – 266:12).

          29.     Admit that Kevin Duffy testified “it’s an honor to be selected for that critical

   assignment.” (Ex. 7, 79:6 – 8). Kevin Duffy further testified that Plaintiff “would fit better as a

   captain in that division because she was once a chief over that division, understanding that division

   versus being a captain on patrol, which she had not had a lot of experience in.” (Ex. 7, 79:13 - 18).2

          30.     Admit.

          31.     Denied. In response to counsel’s question whether there were “any major incidents”

   while Plaintiff was a Captain in the Detentions Division, Sheriff Spurlock testified: “Not that rises

   – not that anything that comes to mind.” (Ex. 1, 265:2-5). Sheriff Spurlock subsequently testified

   that during Plaintiff’s tenure as Detentions Captain, she behaved in an unprofessional manner,

   interfered with Chief Steve Johnson’s decision to transfer/move personnel, failed to rise to the



   2
          Plaintiff has characterized her transfer to Detentions as a demotion and the Detentions
   Captain position as “a less desirable position.” See Complaint, ¶¶ 19, 87.
                                                     5
Case 1:21-cv-03417-NYW-MEH Document 35 Filed 12/21/22 USDC Colorado Page 6 of 18




   occasion and failed to step up, work together, and fulfill the mission of the DCSO. (Ex. X, Spurlock

   Dep. at 267:17 – 268:11, 272:15 – 273:18).

          32.     Admit.

          33.     Denied that Sheriff Spurlock decided that Plaintiff needed to be terminated without

   “following the Disciplinary Policy’s procedures.” Admit that Sheriff Spurlock “thought it was best

   for the agency to separate immediately.” (Ex. 1, 274:18-22).

          34.     Admit that Sheriff Spurlock agreed that Plaintiff’s termination “did not directly

   follow the procedures” of the Disciplinary Policy. (Ex. 1, 227:3-6). Admit that Sheriff Spurlock

   “thought it was best for the agency to separate immediately.” (Ex. 1, 274:18-22).

          35.     Admit that the May 25, 2021 meeting did not constitute a pre-disciplinary hearing

   as discussed in the Disciplinary Policy. (Ex. 1, 223:11-224:9). Admit that during the May 25, 2021

   meeting with Plaintiff, Sheriff Spurlock twice notified Plaintiff of the reason for her termination

   and gave her the opportunity to respond. See RSOMF, ¶¶ 37, 38.

          36.     Admit that Sheriff Spurlock believes Plaintiff did not have advance notice that the

   May 25, 2021 meeting related to her termination. (Ex. 1, 205:9-14).

          37.     Admit that Sheriff Spurlock advised Plaintiff that nothing had changed since last

   fall and twice advised Plaintiff that she was no longer meeting the vision, mission and values of

   the DCSO. Admit that Plaintiff’s behavior had not changed since the fall of 2020 with respect to

   Plaintiff’s violation of DCSO policies and continuing failure to meet the vision, mission, and

   values of the DCSO. (Ex. 1, 203:4 – 204:4; Ex. 6, 167:2-14)(Ex. X, Spurlock Dep. at 213:16 –

   214:17).




                                                    6
Case 1:21-cv-03417-NYW-MEH Document 35 Filed 12/21/22 USDC Colorado Page 7 of 18




          38.      Admit that in response to Plaintiff’s inquiry, Sheriff Spurlock advised that she was

   not meeting the vision, mission and values of the DCSO.3 (Ex. 8, 63:17-22).

          39.      Admit.

          40.      Admit.

          41.      Admit.

          42.      Admit. However, Plaintiff knew she could appeal pursuant to the Disciplinary

   Policy. (Ex. W, Kluth Dep. at 194:8 – 10).4

          43.      Denied. Plaintiff’s citations to Exhibits 8 and 9 do not support the facts alleged at

   Paragraph 43.

          44.      Denied. Tim Moore’s termination did not directly follow the procedures of the

   Disciplinary Policy. (Ex. 1, 229:8 – 19). See RSOMF, ¶ 34.

                   Facts Relating to Defendant’s Mitigation Affirmative Defense

          45.      Admit.

          46.      Admit.

          47.      Admit.

          48.      Admit.

          49.      Admit.




   3
            Page 210 of Sheriff Spurlock’s deposition transcript is missing from Plaintiff’s Exhibit 1.
   It is included in Defendant’s Exhibit X.
   4
          Page 194 of Plaintiff’s deposition transcript is missing from Plaintiff’s Exhibit 6. It is
   included in Defendant’s Exhibit W.
                                                     7
Case 1:21-cv-03417-NYW-MEH Document 35 Filed 12/21/22 USDC Colorado Page 8 of 18




                   STATEMENT OF ADDITIONAL DISPUTED FACTS (“SOADF”)

   DCSO Policy & Procedure A-101: Manuals and Authority

          1.        DCSO P&P-A-101, I. (Manuals) states

          The Policies and Procedures set forth in this manual are for the guidance and
          direction of all Douglas County Sheriff's office members. Additional procedure
          manuals (Division SOPs and the Sheriff’s Office GOPs) will supplement and
          augment this manual and will be specific to office responsibilities. These
          guidelines are not intended to create, nor should they be construed to create a
          contract between the Sheriff's Office and its employees / officials. Employment
          with the County and Sheriff’s Office is at will. Employees may leave employment
          with Douglas County at any time and for any reason, and the Sheriff retains an
          identical right. (emphasis added).

          (Defendant’s Motion for Summary Judgment, Ex. S, p. 1).

   DCSO Policy & Procedure I-102: Disciplinary/Corrective Action

          2.        DCSO P&P-I-102 describes the entire corrective action/disciplinary process at the

   DCSO, not solely termination. (Exhibit 2).5

          3.        DCSO P&P-I-102 provides additional notice and procedures beyond what C.R.S.

   § 30-10-506 requires as it contemplates:

                   verbal or written statements from witnesses;

                   potential live witness testimony;

                   audio recording;

                   notification that Douglas County Human Resources will contact employees

                    regarding fringe and retirement benefits.

          (Exhibit 2, VII.B.1-7).




   5
          DCSO P&P-I-102 states: “Employment with the County and the Sheriff’s Office is at will.”
                                                        8
Case 1:21-cv-03417-NYW-MEH Document 35 Filed 12/21/22 USDC Colorado Page 9 of 18




   Plaintiff’s Termination

           4.      Plaintiff waived post termination appeal procedures by failing to file an appeal of

   her May 25, 2021 termination. (Ex 9, rog 17 at 5-6).

   Plaintiff’s Post-Termination Job Search Efforts

           5.      Plaintiff’s job search efforts consisted of “looking at LinkedIn boards at Arapahoe

   Works! and Arapahoe public posting boards, Arapahoe/Douglas Works!” and applying for a total

   of three jobs over the seven-month period between her termination and the end of calendar year

   2021. (Ex. W, Kluth Dep. at 221:9 – 223:12).

           6.      Plaintiff applied for a job at Metro State College as an instructor and two security

   related jobs. (Ex. W, Kluth Dep. at 221: 6 – 223:14).

           7.      Plaintiff did not interview for any of the three jobs for which she applied. (Ex. W,

   Kluth Dep. at 223:8 – 14).

           8.      In late January/early February 2022, Plaintiff’s campaign for Douglas County

   Sheriff became full-time so she stopped applying for work and began collecting unemployment

   insurance. (Ex. W, Kluth Dep. at 222:25 – 223:7)

   Sheriff Spurlock’s after-acquired evidence defense

           9.      Sheriff Spurlock asserted an after-acquired evidence defense in his Answer. [Doc.

   13, p. 18, ¶ 19].

           10.     Evidence discovered by the DCSO after Plaintiff’s termination revealed that while

   Plaintiff was serving as Undersheriff, she ordered a subordinate to delete some of her personnel

   records, which would be disparaging to her reputation and campaign for Douglas County Sheriff,




                                                    9
Case 1:21-cv-03417-NYW-MEH Document 35 Filed 12/21/22 USDC Colorado Page 10 of 18




   from the DCSO’s Guardian Tracker/Tracking database.6 (Ex. Y, DCSO 967-973 – Notification of

   Findings).

           11.    The Internal Affairs (“IA”) investigation of Plaintiff’s actions determined that the

   deleted records included Plaintiff’s Personal History Questionnaire (PHQ/Employment

   Application), Background Investigation, Polygraph Examination, Psychological Evaluation, all of

   which were completed as part of her application process at the DCSO, and documents related to a

   domestic violence/felony menacing incident in Park County, Colorado with her former husband

   which occurred some five months before she was hired by the DCSO. (Ex. Y, DCSO at 969 –

   970).

           12.    The IA investigation further determined that Plaintiff committed additional

   deceptive acts during her application process at the DCSO. Specifically, Plaintiff indicated on her

   PHQ/Employment Action that she worked for the Arapahoe County Sheriff’s Office when in fact

   she worked for the Arapahoe Community Treatment Center which is not affiliated with the

   Sheriff’s Office. (Ex. Y, DCSO at 969 – 970). Plaintiff also omitted from her PHQ/Employment

   Application the domestic violence/felony menacing incident with her former husband. (Ex. Y,

   DCSO at 969 – 970).

           13.    At the conclusion of the IA investigation, Plaintiff was found to have violated

   multiple DCSO Policies and Procedures including Commission of a Deceptive Act. (Ex. Y).




   6
           Guardian Tracker/Tracking is an electronic database that contains personnel files, personal
   action forms, certain disciplinary actions and training certificates. (Ex. X, Spurlock Dep. at 33:9-
   15).
                                                   10
Case 1:21-cv-03417-NYW-MEH Document 35 Filed 12/21/22 USDC Colorado Page 11 of 18




                                             ARGUMENT
   I.     PLAINTIFF IS NOT ENTITLED TO SUMMARY JUDGMENT ON HER IMPLIED
          CONTRACT CLAIM

   Cummings I, Cummings II and DCSO’s Policies and Procedures

          In Cummings v. Arapahoe County Sheriff’s Department, 440 P.3d 1179, 1183, 2018 COA

   136, ¶ 6 (Cummings I), the Court held that C.R.S. § 30-10-506 “grants two unwaivable rights to

   the deputies, the right of notification ‘of the reason for the proposed revocation’ of their

   employment, and an ‘opportunity to be heard by the sheriff’ before their employment is

   terminated.” The Court further held that sheriffs must adopt personnel policies, all of which may

   be nonbinding except for the two rights provided for in C.R.S. § 30-10-506. Id. “To summarize,

   the amended statute requires a sheriff to promulgate written employment policies. The sheriff must

   give his deputies the rights of notice and opportunity to be heard. Other employment policies

   promulgated by the sheriff may be, but are not required to be, binding. And if the sheriff elects to

   confer binding employment rights on his deputies, those rights are enforceable in accordance with

   their terms.” Id. at 1185.

          Exercising its authority to promulgate nonbinding employment policies under Cummings

   I, the DCSO’s Policy and Procedure Manual clearly and conspicuously disclaims the creation of

   any contractual rights. (SOADF, ¶ 1 - DCSO P&P-A-101, I: “These guidelines are not intended to

   create, nor should they be construed to create a contract between the Sheriff's Office and its

   employees /officials.”). Thus, the only rights considered binding on the DCSO are those set forth

   in C.R.S. § 30-10-506: the right of “notification of the reason for the proposed revocation of their

   employment,” and “an opportunity to be heard by the sheriff before their employment is

   terminated.” Sheriff Spurlock fully complied with the dictates of the statute during his May 25,

                                                   11
Case 1:21-cv-03417-NYW-MEH Document 35 Filed 12/21/22 USDC Colorado Page 12 of 18




   2021 meeting with Plaintiff when he twice notified Plaintiff of the reason for her termination and

   gave her the opportunity to respond. (RSOMF, ¶ 37). See Cummings v. Brown, 500 P.3d 1140,

   2021 COA 122, ¶ 24 (Cummings II)(“[T]he statute does not require sheriffs to provide robust

   notice at all phases of a sheriff’s internal disciplinary process; it merely requires that sheriffs —

   when they intend to revoke a deputy’s appointment — notify the deputy of the reasons for that

   ‘proposed revocation’ and provide the deputy an opportunity to be heard.”).7

            Plaintiff’s argument that DCSO P&P-I-102 (“the Disciplinary Policy”) cannot be

   disclaimed because it effectuates the due process rights set forth in C.R.S. § 30-10-506 (Motion,

   pp. 10 – 11) ignores not only the broad scope of the Disciplinary Policy and Cummings I but also

   Cummings II. The relevant issue in Cummings II was whether the trial court erred in instructing

   the jury whether the defendant sheriff complied with a specific section of the sheriff office’s policy

   and procedure manual in determining the office’s alleged breach of its implied contract with the

   plaintiff. The Court found that the relevant section of the manual did not effectuate the specific

   rights granted by C.R.S. § 30-10-506. Rather, the section granted deputies “additional notice

   beyond what section 30-10-506 requires and under Cummings I, the Sheriff could (and did)

   disclaim that this notice created any contractual right.” (emphasis added) Id. at ¶ 23.

            DCSO’s Disciplinary Policy is not limited to imposition of discipline. Rather, it describes

   the entire corrective action/disciplinary process at the DCSO including “Grounds for Disciplinary

   Action    or   Dismissal,”   “Disciplinary    Action    Ranges,”     “Corrective Action       Ranges,”



   7
           Plaintiff has failed to show how the May 25, 2021 meeting with Sheriff Spurlock was not
   sufficient notice and opportunity to be heard. Plaintiff fails to cite any relevant authority in support
   of her contention that she was not provided with “a meaningful ‘opportunity to be heard’ prior to
   the termination.” (Motion, p. 17, n. 4).
                                                     12
Case 1:21-cv-03417-NYW-MEH Document 35 Filed 12/21/22 USDC Colorado Page 13 of 18




   “Administrative Leave Pending Investigation Outcome,” “Disciplinary Authority of Supervisors”

   and “Appeal Procedures.” (Ex. 2, 1-2).8 Because the “Imposing Discipline” section contemplates

   verbal or written statements from witnesses, the potential for live witness testimony, the audio

   recording of hearings, and Human Resources notification regarding fringe and retirement benefits,

   the Policy grants deputies additional notice and procedures far beyond what is required by § 30-

   10-506. See Cummings II, 2021 COA 122, ¶ 23. Accordingly, and given the clear and conspicuous

   disclaimer of any contractual rights in DCSO P&P-A-101, the Policy is not an implied contract

   under Colorado law and Plaintiff’s Motion for Partial Summary Judgment should be denied.9

   After-acquired evidence defense

          Although Sheriff Spurlock did not move for summary judgment on this defense, it is

   germane to the analysis because it generates additional issues of fact sufficient to defeat Plaintiff’s

   Motion on her implied contract claim.

          In Crawford Rehab. Servs. v. Weissman, 938 P.2d 540 (Colo. 1997), the plaintiff brought

   implied contract and promissory estoppel claims against her former employer based on the

   employer’s alleged failure to follow termination procedures in an employment manual. The

   Colorado Supreme Court reversed the Court of Appeals’ reversal of the trial court’s dismissal of

   the plaintiff’s implied contract and promissory estoppel claims based on the after acquired


   8
           Plaintiff’s recognition that the Disciplinary Policy provides an opportunity to be heard
   through the submission of a post-discipline appeal (Motion, p. 14) is puzzling because it is
   undisputed that she failed to file an appeal of her termination. (SOADF, ¶ 4). In response to
   Plaintiff’s counsel’s question whether he would have changed his mind had Plaintiff appealed,
   Sheriff Spurlock testified: “I don’t know. I – she never appealed. So I don’t know.” (Ex. X,
   Spurlock Dep. at 275:9-15).
   9
            Plaintiff has failed to present any evidence of damages caused by the DCSO’s alleged
   failure to follow all provisions of the Disciplinary Policy.
                                                     13
Case 1:21-cv-03417-NYW-MEH Document 35 Filed 12/21/22 USDC Colorado Page 14 of 18




   evidence doctrine and other grounds. Id. at 543. The Court concluded that the doctrine provided a

   complete defense to implied contract and promissory estoppel claims because of certain material

   and intentional misstatements and omissions in the plaintiff’s employment application. Id. at 549.

          The Court explained:

          Basic principles of law and equity support a rule allowing an employer to avoid
          liability for breach of implied contract or promissory estoppel claims arising from
          an employment relationship induced by an employee’s fraud. A party that has been
          fraudulently induced to enter into a contract may rescind the contract to restore the
          status quo. See Restatement (Second) of Contracts § 164 (1981). Applying that
          axiom, an employer that has been fraudulently induced to hire an employee may
          rescind the employment agreement. Here, the only agreement that existed was the
          one contained in the employment manual concerning termination procedures.
          Hence, the employer is entitled to rescind the implied contract to adhere to the
          termination procedures contained in the employment manual, and cannot be held
          liable under a theory of breach of implied contract for failure to adhere to such
          procedures. (emphasis added)(citations omitted).

   Id. at 547 – 548.

          Evidence discovered by the DCSO after Plaintiff’s termination revealed that while Plaintiff

   was serving as Undersheriff, she ordered a subordinate to delete some of her personnel records

   from the DCSO’s electronic database. (SOADF, ¶ 10). The IA investigation of Plaintiff’s actions

   determined    that   the   deleted   records   included   her   Personal   History   Questionnaire

   (PHQ/Employment Application) and Background Investigation, all of which were completed as

   part of her application process at the DCSO, and documents related to her involvement in a

   domestic violence/felony menacing incident with her former husband. (SOADF, ¶ 11). The IA

   investigation further determined that Plaintiff committed additional deceptive acts during her

   application process at the DCSO. Specifically, Plaintiff falsely stated on her PHQ/Employment

   Action that she worked for the Arapahoe County Sheriff’s Office when in fact she worked for the

   Arapahoe Community Treatment Center and omitted from the same document the domestic

                                                   14
Case 1:21-cv-03417-NYW-MEH Document 35 Filed 12/21/22 USDC Colorado Page 15 of 18




   violence/felony menacing incident. (SOADF, ¶ 12). At the conclusion of the IA investigation,

   Plaintiff was found to have violated multiple DCSO Policies and Procedures including

   Commission of a Deceptive Act. (SOADF, ¶ 13).

          Like the implied contact claim at issue in Crawford Rehab. Servs., Plaintiff’s implied

   contract claim is based on her former employer’s alleged violations of termination procedures.

   Like the evidence of resume fraud at issue in Crawford Rehab. Servs., the evidence discovered by

   the DCSO demonstrates that Plaintiff made material and intentional misstatements and omissions

   in her DCSO employment application materials. Thus, Sheriff Spurlock, in his official capacity as

   Plaintiff’s former employer, may rescind the alleged implied contract pursuant to Crawford Rehab.

   Servs. At a minimum, genuine issues of material fact relative to Sheriff Spurlock’s after-acquired

   evidence defense preclude summary judgment in Plaintiff’s favor on her implied contact claim.

   Accordingly, Plaintiff’s Motion for Partial Summary Judgment should be denied.

   II.    PLAINTIFF IS NOT ENTITLED TO SUMMARY JUDGMENT ON SHERIFF
          SPURLOCK’S MITIGATION AFFIRMATIVE DEFENSE

          An employer may meet its burden to establish its mitigation defense by demonstrating that

   the plaintiff made no effort to secure employment. See e.g., Sanchez v. Mora-San Miguel Elec.

   Coop., Inc., No. 98-2061, 1999 U.S. App. LEXIS 5887, *21 *22 (10th Cir. March 31, 1999)(finding

   that defendants met their burden of proof on mitigation defense where plaintiff’s efforts to find

   work over a 12 month period consisted of making four phone calls and giving her resume to the

   New Mexico Department of Labor for forwarding to a private company); Hale v. Emporia State

   Univ., No. 16-4182-DDC, 2020 U.S. Dist. LEXIS 154852, *19 (D. Kan. August 26, 2020)(finding

   that defendant could have discharged its burden had the plaintiff made no effort to secure



                                                  15
Case 1:21-cv-03417-NYW-MEH Document 35 Filed 12/21/22 USDC Colorado Page 16 of 18




   alternative employment);10 Logan v. Pena, No. 91-2389-JWL, 1993 U.S. Dist. LEXIS 2916, at *3

   (D. Kan. Feb. 9, 1993)(“When a discriminatee makes little or no effort to obtain any type of

   employment, the court does not need to consider in the abstract whether or not a suitable position

   for which the plaintiff is qualified might have been offered to the discriminatee if he or she had

   made the necessary effort to find it.” (citations omitted)).11

          Plaintiff holds Bachelor’s and Master’s degrees and had some 32 years in law enforcement

   experience at the time of her May 25, 2021 termination. During her service as a law enforcement

   officer for the DCSO, she graduated from the FBI National Academy, served on various Boards

   and committees and received multiple awards. (Ex. Z, KLUTH 1536-538 – Plaintiff’s resume).

   Despite her lengthy experience and qualifications, the entirety of Plaintiff’s job search efforts

   consisted of looking at a few job boards and applying for three jobs. (SOADF, ¶¶ 5-6).12 In late




   10
          The court concluded that defendant had not met its burden because plaintiff applied for
   over 40 jobs over the course of the 12 months following her employment separation.
   11
           Courts outside of this Circuit have reached the same result. See e.g., Quint v. A.E. Staley
   Mfg. Co., 172 F.3d 1, 16 (1st Cir. 1999) (“Other courts of appeals . . . uniformly have relieved the
   defendant-employer of the burden to prove the availability of substantially equivalent jobs in the
   relevant geographic area once it has been shown that the former employee made no effort to secure
   suitable employment.”); Greenway v. Buffalo Hilton Hotel, 143 F.3d 47, 54 (2nd Cir.
   1998)(adopting the rule that an employer is “released from the duty to establish the availability of
   comparable employment if it can prove that the employee made no reasonable efforts to seek such
   employment.”); Weaver v. Casa Gallardo, Inc., 922 F.2d 1515, 1527 (11th Cir. 1991)(If “an
   employer proves that the employee has not made reasonable efforts to obtain work, the employer
   does not also have to establish the availability of substantially comparable employment.”); Sellers
   v. Delgado College, 839 F.2d 1132,1139 (5th Cir. 1988)(“If an employer proves that an employee
   has not made reasonable efforts to obtain work, the employer does not also have to establish the
   availability of substantially comparable employment.”)
   12
           Plaintiff testified she started taking real estate courses in the fall of 2021 and passed her
   real estate exam the beginning of June 2022. (Ex. W, Kluth Dep. at 223: 15 – 25).

                                                     16
Case 1:21-cv-03417-NYW-MEH Document 35 Filed 12/21/22 USDC Colorado Page 17 of 18




   January/early February 2022, Plaintiff’s campaign for Douglas County Sheriff became full-time

   so she stopped applying for work and began collecting unemployment insurance. (SOADF, ¶ 8).13

          Because the undisputed evidence demonstrates that Plaintiff, despite reputable credentials

   and three decades of experience, made virtually no effort to secure employment after her

   termination from the DCSO, a reasonable jury could conclude that Sheriff Spurlock has established

   his mitigation defense. Accordingly, Plaintiff’s Motion for Partial Summary Judgment on Sheriff

   Spurlock’s mitigation defense should be denied.

                                        CONCLUSION

          For the reasons described above, Plaintiff’s Motion for Partial Summary Judgment should

   be denied.

          Dated this 21st day of December 2022.

                                               Respectfully submitted,


                                                  s/ William T. O’Connell, III_______
                                               William T. O’Connell, III
                                               Saugat K. Thapa
                                               WELLS, ANDERSON & RACE, LLC
                                               1700 Broadway, Suite 900
                                               Denver, CO 80290
                                               Telephone: 303-830-1212
                                               Email: woconnell@warllc.com; sthapa@warllc.com

                                               ATTORNEYS FOR DEFENDANT
                                               TONY SPURLOCK




   13
           Plaintiff was one of four Republican candidates running for Douglas County Sheriff. She
   finished third in the June 2022 primary accumulating 18% of the vote.
   https://www.douglas.co.us/documents/2022-primary-election-results.pdf
                                                  17
Case 1:21-cv-03417-NYW-MEH Document 35 Filed 12/21/22 USDC Colorado Page 18 of 18




                                 CERTIFICATE OF SERVICE

          I hereby certify that on December 21, 2022, a true and correct copy of the above and
   foregoing DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION FOR PARTIAL
   SUMMARY JUDGMENT was electronically filed with the Clerk of Court using the CM/ECF
   system and/or sent via e-mail to the following e-mail addresses:

   Felipe Bohnet-Gomez, Esq.
   Matthew J. Cron, Esq.
   RATHOD MOHAMEDBHAI LLC
   2701 Lawrence Street, Suite 100
   Denver, CO 80205
   fbg@rmlawyers.com
   mc@rmlawyers.com
   Attorneys for Plaintiff

                                            s/ Barbara McCall
                                            Barbara McCall, Legal Assistant




                                               18
